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                        EXHIBIT E
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   From:         Robert Dwyer
   To:           "Engle, Craig"
   Cc:           "Yusuf, Temitope K."
   Subject:      RE: Broidy v. Qatar request by Defendant
   Date:         Friday, June 08, 2018 9:10:51 PM



  Craig-

  As I’m sure you can appreciate from my e-mail to which you replied, Plaintiffs agree
  that neither you nor your client should provide Mr. Allaham’s documents to counsel
  for the State of Qatar (or anyone else) for pre-review before production to Plaintiffs.

  However, I think you misapprehend your client’s situation: he is under a court order,
  issued by the only court with jurisdiction over the subpoena served on him, to
  produce all documents responsive to the subpoena served on him. Thus, your client
  has the unambiguous obligation to produce - not to await further developments.
  Your clients (and, by implication, your law firm) are not impartial stakeholders
  awaiting a court to tell you what to do. Your client and your firm litigated and lost
  all issues relating to the subpoena. Consequently, to use your words, you should
  have had an objection to Qatar seeking clarification (since there is nothing to clarify)
  and you should have had an opinion on the issue (since your client litigated and lost
  the issue).

  In that regard, please let me know when you will be able to provide an update as to
  when you expect to commence and complete production of the responsive
  documents.

  -Bob Dwyer



  Sent with Good (www.good.com)


  -----Original Message-----
  From: Engle, Craig [Craig.Engle@arentfox.com]
  Sent: Friday, June 08, 2018 08:16 PM Eastern Standard Time
  To: Robert Dwyer
  Cc: Yusuf, Temitope K.
  Subject: Broidy v. Qatar request by Defendant

  Robert I just spoke with Covington who asked if I would give them an opportunity to
  review joeys discovery documents prior to sending them to you so they would have
  a chance to object to some production on privilege, and possibly have some
  documents withheld.

  I declined to do that absent a court saying we are required to do so. I also said I
  have no objection to qatar seeking such judicial clarification, but have no opinion on
  the underlying issue.

  Please telephone me at (202) 2131311 if you would like to discuss.

  Sent from my iPhone
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  On Jun 8, 2018, at 3:01 PM, Robert Dwyer
  <rdwyer@BSFLLP.com<mailto:rdwyer@BSFLLP.com>> wrote:

  Neema-

  This is in response to your e-mail of 4:02 p.m. (Eastern time) this afternoon.

  First, to amplify your characterization of our discussions with Mr. Allaham’s counsel
  concerning his compliance with Judge Forrest’s Order of June 6, we agreed with his
  counsel this morning to reasonable accommodations in light of the fact that his wife
  may have gone into labor and is currently in the hospital in NYC, which prevented
  him today from participating in the review and production of the subpoenaed
  documents. If and to the extent his availability changes, we expect him to comply
  with Judge Forrest’s Order of June 6 as issued. If not, we agreed:

  (a) The deadline for Mr. Allaham to fully comply with that Order is extended from
  2:00 p.m. on Saturday, June 9 to no later than 2:00 p.m. on Friday, June 15.

  (b) Counsel for Plaintiffs and counsel for Mr. Allaham will confer about earlier
  deadlines for the production of documents based on his counsel’s ability to produce
  documents based on the ESI that his counsel has, along with considerations related
  to the expected duration of Mrs. Allaham’s hospital stay.
  We also requested that Mr. Allaham’s counsel make his production on a rolling basis,
  especially since they already have the relevant ESI, and we expect that they will do
  so.

  Second, we reject categorically your position that your client (the State of Qatar)
  should have an opportunity to review Mr. Allaham’s documents in advance of their
  production to Plaintiffs or to seek a delay in the production of those documents that
  was ordered by Judge Forrest.


  (a) When I asked your partner Mitchell Kamin yesterday about the subject, he stated
  that he did not know if Mr. Allaham was covered by any confidentiality agreement
  between the State of Qatar and Mr. Muzin and Stonington. See also (d) below.

  (b) Until yesterday, the State of Qatar never asserted that Mr. Allaham was its agent
  or that it had any right to prevent or monitor his production of documents or
  information pursuant to lawful process. Indeed, the State of Qatar agreed to
  explicitly carve him out of any discovery stay that ended on June 4, fully anticipating
  he would make document productions before that date.

  (c) As Judge Forrest ruled at the June 6 hearing (at which your firm was present and
  argued for the State of Qatar without raising any Vienna Convention or
  confidentiality points), “All defenses have been waived.”

  (d) In his written statement yesterday to The Rachel Maddow Show on MSNBC, Mr.
  Allaham stated that he had “no written contract” with the State of Qatar. Mr.
  Allaham also stated, “I don’t know if I ever was a so-called legal agent of Qatar, but
  I do know that as of Friday I am nothing with them…. I want the public record to be
  clear that I am no longer affiliated with them.”
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  (e) Mr. Allaham has never registered under FARA as an agent or sub-agent of the
  State of Qatar.

  (f) Although the State of Qatar appears to assert that Nicolas Muzin and/or
  Stonington Strategies retained Mr. Allaham as a sub-agent, no such relationship was
  disclosed in the FARA filings of Mr. Muzin or Stonington, and Mr. Muzin tweeted on
  the morning of June 6 that “Stonington Strategies is no longer representing the
  State of Qatar.”

  (g) Mr. Allaham also issued a statement to Politico yesterday that makes it clear that
  his interests and the interests of the State of Qatar are divergent: “Qatar enjoys
  portraying themselves as the purveyor of peace in the region, but this could not be
  further from the truth.”

  (h) Absent any basis for asserting privilege, the State of Qatar lacks any right to
  conduct a pre-production review of Mr. Allaham’s responsive documents or to seek
  to have him withhold any such documents from production.

  (i) Given the history summarized on the June 6 hearing transcript, the request for
  review in your e-mail is manifestly another improper attempt at delaying legitimate
  discovery by Plaintiffs (which in this case has been ordered by the court).

  Finally, we wish to be notified in advance and be afforded the opportunity to be
  heard with respect to any application made by counsel for the State of Qatar to any
  court with respect to the production of documents by Mr. Allaham. In that regard:


  (a) The Central District of California lacks jurisdiction over compliance with a Rule 45
  subpoena for which compliance is required in the Southern District of New York.

  (b) All questions regarding document production by Mr. Allaham pursuant to
  Plaintiffs’ subpoena were resolved by Judge Forrest in the Southern District of New
  York on June 6. Your contemplated attempt to ask a sister court (the Central District
  of California) to overturn that decision is unwarranted.

  (c) Your calculated plan to file an ex parte application in the Central District of
  California on a Friday evening, thereby requiring a response from Plaintiffs on
  Saturday, is inexcusable for three reasons:

  a. As recently addressed in this action by Judge Walter, ex parte applications are
  reserved for extraordinary situations, and the meritless claim of the State of Qatar in
  a court that lacks jurisdiction hardly qualifies.

  b. The subpoena to Mr. Allaham has been outstanding for many weeks, without your
  seeking any such relief.

  c. As a personal matter, there is little reason to impose on Plaintiffs’ counsel the
  need to address and brief these matters over a weekend when there were ample
  opportunities to do so over the course of many weeks, including most recently
  before Judge Forrest on June 6.

  -Bob Dwyer
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  Robert J. Dwyer
  Partner


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  From: Sahni, Neema T [mailto:nsahni@cov.com]
  Sent: Friday, June 8, 2018 4:02 PM
  To: Lee Wolosky; Amy Neuhardt; Robert Dwyer; Obermeier, Stephen; Gardner,
  Matthew; temitope.yusuf@arentfox.com<mailto:temitope.yusuf@arentfox.com>;
  craig.engle@arentfox.com<mailto:craig.engle@arentfox.com>;
  allan.anderson@arentfox.com<mailto:allan.anderson@arentfox.com>
  Cc: Kamin, Mitchell A; Van Tassell, Rebecca G; Chen, Mark Y
  Subject: RE: Broidy v. Qatar - Letter Brief and Ex Parte

  Counsel,

  As noticed below, Defendant Qatar intended to seek an extension of the deadline for
  Mr. Allaham to produce documents responsive to the subpoena served by Plaintiffs
  through June 15 in order to ensure that no materials are produced in violation of the
  Vienna Conventions or any confidentiality agreement. We learned this morning that
  Mr. Allaham and Plaintiffs have now agreed to extend the deadline through June 15,
  subject to potentially conferring about earlier deadlines for a portion of the
  production.

  We write to request that Qatar be given an opportunity to review Mr. Allaham's
  documents within this agreed-upon production timeframe, prior to their production,
  so that it may identify documents that are (1) inviolable and protected from
  disclosure pursuant to the protections afforded to Qatar under the Vienna
  Conventions, and/or (2) subject to confidentiality agreements and thus must be
  produced subject to an appropriate confidentiality designation. We further request
  your agreement that Qatar may direct that materials that are inviolable under the
  Vienna Conventions be withheld from production to Plaintiffs, provided that they are
  identified on a privilege log and that all parties retain the right to challenge any
  claim of privilege or immunity from production.

  Please let us know your position on this proposal as soon as possible, by confirming,
  (i) in the case of Mr. Allaham, that you will give Qatar the opportunity to conduct
  such a review and withhold documents as directed, and (ii) in the case of Plaintiffs,
  that you have no objection to this arrangement.

  Given the urgency of this issue, we intend to seek immediate relief from the courts
  as noticed below in the event that we cannot reach an agreement as to the above.
  As such, please let us know your position by no later than 5 p.m. Pacific Time today.

  Thank you,
  Neema
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  Neema Sahni

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  <image001.jpg>


  From: Van Tassell, Rebecca G
  Sent: Thursday, June 07, 2018 8:59 AM
  To: lwolosky@BSFLLP.com<mailto:lwolosky@BSFLLP.com>; Amy Neuhardt
  <aneuhardt@bsfllp.com<mailto:aneuhardt@bsfllp.com>>; Robert Dwyer
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  craig.engle@arentfox.com<mailto:craig.engle@arentfox.com>;
  allan.anderson@arentfox.com<mailto:allan.anderson@arentfox.com>
  Cc: Kamin, Mitchell A <MKamin@cov.com<mailto:MKamin@cov.com>>; Sahni,
  Neema T <nsahni@cov.com<mailto:nsahni@cov.com>>
  Subject: Broidy v. Qatar - Letter Brief and Ex Parte

  Counsel,

  On behalf of Defendant State of Qatar, we write to inform you that we intend to file
  tomorrow a letter brief with Judge Forrest in the Southern District of New York,
  requesting that the Court extend the deadline for Mr. Allaham to produce documents
  responsive to the subpoena served by Plaintiffs through June 15, in order to allow
  Qatar the opportunity to identify any documents in Mr. Allaham's possession that (1)
  may be inviolable and protected from disclosure pursuant to the protections afforded
  to Qatar under the Vienna Conventions, or (2) may be subject to confidentiality
  agreements, requiring they be produced subject to an appropriate confidentiality
  designation. In the alternative, if our request for an extension of the deadline is
  denied, we will be moving for a protective order, requiring that any and all discovery
  related to Mr. Allaham on the Court-ordered date be produced subject to a "Highly
  Confidential - Attorneys' Eyes Only" designation until the parties can negotiate an
  appropriate protective order for approval by the Court and work out a process for
  designating the discovery in question.

  Per Judge Forrest's procedures, we request the opportunity to meet and confer with
  counsel on this request. Please let us know your availability for a call today.

  Please be advised that we also intend to apply ex parte tomorrow for the same relief
  in the Central District of California. Please let us know whether you intend to oppose
  this application, so that we may alert the Court of the parties' position in accordance
  with L.R. 7-19.1. Per Judge Walter's standing order, any opposition must be filed
  within 24 hours after the filing of an ex parte application.
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  Best,



  Rebecca Van Tassell

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